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            EXHIBIT WW
Case 1:19-cv-02045-JRS-TAB Document 124-49 Filed  02/16/21 Page 2 of 3 PageID #: 2051
                                               Account Information - Statement Date: 10/2/2019
              SERVICING CORPORATION            Account Number                                  0000
                                                                                                        Payment Due Date                                            11 / 1/2019
                       323 5 TH STREET
                       EUREKA CA 95501                                                                  Total Amount Due                                         $11,176.33
                                                                                                                    $18.50 late fee may be charged on or after 11 /17 / 2019

                                                                                                        Outstanding Principal                                  $ 32,411.03
                                                                                                                                This is not the amount to pay off your loan
                                                                                                        Interest Rate                                               7.75%
                                                                                                        Prepayment Penalty                                               No
                                                                                                        Escrow Balance                                                  $0.00

                                                                                                        Past Payment Breakdown
             MICHAEL F CRUM                                                                                                                   Paid Since        Paid Year to
             3407 W REBA AVE                                                                                                                   9 / 5/2019           Date
             BLOOMINGTON, IN 47403                                                                      Principal                                  $ 244.71         $ 2,377.63
                                                                                                        Interest                                   $ 210.90         $ 2,178.47
                                                                                                        Escrow (Taxes and Insurance)                  $0.00                 $0.00
                                                                                                        Fees                                         $15.00           $150.00
                                                                                                        Partial Payment (Unapplied)                   $0.00             $0.00
                                                                                                        Total                                      $ 470.61         $4 ,706.10
      ** Delinquency Notice * *                                   Explanation of Amount Due
      You are late on your mortgage payments. Failure to            Due Date       Principal               Interest           Escrow       Other Funds              Total
      bring your loan current may result in fees and                 9/1/ 2019         $ 246.29                $ 209.32            $0.00           $ 0.00              $ 455.61
      foreclosure -- the loss of your home. As of October 2,        10/ 1/ 2019        $ 247.88                $ 207.73            $0.00           $ 0.00              $ 455.61
      2019, you are 61 days delinquent on your mortgage loan        11/1 /2019         $ 249.48                $ 206.13            $0.00           $0.00               $ 455.61
      and your most delinquent payment was due on 9/1/2019 .      Total Payments Due                                                                                 $1,366.83
        This is your Recent Account History:                      Total Fees and Charqes                                                                             $9,809.50
       * Payment due 05 /01/ 2019: Fully paid on 07 /02/ 2019     Total Amount Due                                                                                  $11,176.33
      * Payment due 06 /01/ 2019: Fully paid on 08 /02/ 2019
                                                                                              Customer Service: (800) 603 -0836
      * Payment due 07 /01/ 2019: Fully paid on 09 /04/ 2019
                                                                                 Website: borrower . snsc. com * Email: customserv @ snsc . com
      * Payment due 08 /01/ 2019: Fully paid on 10 /02/ 2019
      * Payment due 09 /01/ 2019                                  Important Messages
      * Payment due 10/01/ 2019                                   Payment Due Date now shows the date your next payment is due.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
      * Current Payment due 11/01 /2019 : $455.61
                                                                  payments, or other defaults on your account may be reflected on your credit report .
       * Total : $11,176.33 due . You must pay this amount to
      bring your loan current.
      If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
      attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
      Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
           • U. S. Department of Housing and Urban Development (HUD) : For a list of homeownership counselors or counseling organizations in your area, go to
               http : / /www .hud .gov/offices/hsg/ sfh/hcc /hcs.cfm or call 800- 569 - 4287.
      Other Balances                                                                 Transaction Activity (9/ 5/ 2019 to 10/2 /2019)
      Description                                                Balance             Date        Description                                      Charges            Payments
      Attorney Fee                                              $ 9,495.00        9/ 17 / 2019   Late Charge Assessment                              $18.50
      Late Fees                                                    $ 314.50       10/1/ 2019     Legal Fee Assessment                             $ 7, 725.00
                                                                                  10/ 2/ 2019    Payment Setup Fee Assessment                         $15.00
                                                                                  10/ 2/ 2019    Payment Setup Fee Payment                                               $15.00
                                                                                  10/ 2/ 2019    Payment                                                                $455.61




                                                                              Detach at Perforation
                                                                                                                       Payment Coupon
                     SERVICING CORPORATION                                                            Please return with your check payable to: SN Servicing Corporation
           Customer Service: (800) 603-0836
                                                                                                                    Amount due for Loan 0000
                                                                                                       Due 11/ 1/ 2019                                           $ 455.61

                                                                                                       Total Payments Due *                                     $1,366.83
         MICHAEL F CRUM
                                                                                                           $18.50 late fee will be charged on or after 11/17 /2019
         3407 W REBA AVE
         BLOOMINGTON , IN 47403                                                                        Additional Principal            $

                                                                                                       Additional Escrow               $
                                                                                                       Total Amount Enclosed           $

                                                                                                       * Does not include other fees, charges and balances .
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266 -0820
                                                                                                                                0000               SN/Crum5 0473
                                                                                                                                                  0000168133
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                                               Account Information - Statement Date: 9/ 4/ 2019
              SERVICING CORPORATION            Account Number                                   0000
                                                                                                        Payment Due Date                                           10/1 /2019
                       323 5 TH STREET
                       EUREKA CA 95501                                                                  Total Amount Due                                         $3, 432.83
                                                                                                                    $18.50 late fee may be charged on or after 10/17 / 2019

                                                                                                        Outstanding Principal                                  $ 32,655.74
                                                                                                                                This is not the amount to pay off your loan
                                                                                                        Interest Rate                                               7.75%
                                                                                                        Prepayment Penalty                                               No
                                                                                                        Escrow Balance                                                 $0.00

                                                                                                        Past Payment Breakdown
             MICHAEL F CRUM                                                                                                                   Paid Since       Paid Year to
             3407 W REBA AVE                                                                                                                   8 /8/2019           Date
             BLOOMINGTON, IN 47403                                                                      Principal                                 $ 243.14         $ 2,132.92
                                                                                                        Interest                                  $ 212.47         $1,967.57
                                                                                                        Escrow (Taxes and Insurance)                 $0.00                 $0.00
                                                                                                        Fees                                        $15.00           $135.00
                                                                                                        Partial Payment (Unapplied)                  $0.00             $0.00
                                                                                                        Total                                     $ 470.61         $4 ,235.49
      ** Delinquency Notice * *                                   Explanation of Amount Due
      You are late on your mortgage payments. Failure to            Due Date       Principal               Interest           Escrow       Other Funds             Total
      bring your loan current may result in fees and                 8/1/ 2019         $ 244.71                $ 210.90            $0.00           $ 0.00             $ 455.61
      foreclosure -- the loss of your home. As of September 4,       9/1/ 2019         $ 246.29                $ 209.32            $0.00           $ 0.00             $ 455.61
      2019, you are 64 days delinquent on your mortgage loan        10/ 1/ 2019        $ 247.88                $ 207.73            $0.00           $0.00              $ 455.61
      and your most delinquent payment was due on 8/1/2019.       Total Payments Due                                                                                $1,366.83
        This is your Recent Account History:                      Total Fees and Charqes                                                                            $2,066.00
       * Payment due 04 /01/ 2019: Fully paid on 06/04 / 2019     Total Amount Due                                                                                  $ 3, 432.83
      * Payment due 05 /01/ 2019: Fully paid on 07 /02/ 2019
                                                                                              Customer Service: (800) 603 -0836
      * Payment due 06/01/ 2019: Fully paid on 08 /02/ 2019
                                                                                 Website: borrower . snsc. com * Email: customserv @ snsc . com
      * Payment due 07 /01/ 2019: Fully paid on 09 /04 / 2019
      * Payment due 08 /01/ 2019                                  Important Messages
      * Payment due 09 /01/ 2019                                  Payment Due Date now shows the date your next payment is due.
                                                                  We may report information about your account to credit bureaus. Late payments, missed
      * Current Payment due 10/01 /2019 : $455.61
                                                                  payments, or other defaults on your account may be reflected on your credit report .
       * Total : $3 , 432.83 due. You must pay this amount to
      bring your loan current.
      If you have previously received a discharge in bankruptcy and this debt was not reaffirmed, this correspondence is not and should not be construed to be an
      attempt to collect such a debt as your personal liability, but is instead a step in the enforcement of a mortgage lien against your property.
      Housing Counselor Information: If you would like counseling or assistance, you can contact the following:
           • U. S. Department of Housing and Urban Development (HUD) : For a list of homeownership counselors or counseling organizations in your area, go to
               http : / /www .hud .gov/offices/hsg/ sfh/hcc /hcs.cfm or call 800- 569 - 4287.
      Other Balances                                                                 Transaction Activity (8/ 8/ 2019 to 9/4 / 2019)
      Description                                                 Balance            Date        Description                                      Charges           Payments
      Attorney Fee                                               $1,770.00        8/ 17 / 2019   Late Charge Assessment                             $18.50
      Late Fees                                                    $ 296.00       8/ 27 / 2019   Legal Fee Assessment                            $ 1, 770.00
                                                                                  9 /4 /2019     Payment Setup Fee Assessment                        $15.00
                                                                                  9 /4 / 2019    Payment Setup Fee Payment                                              $15.00
                                                                                  9 /4 /2019     Payment                                                               $455.61




                                                                              Detach at Perforation
                                                                                                                       Payment Coupon
                     SERVICING CORPORATION                                                            Please return with your check payable to: SN Servicing Corporation
           Customer Service: (800) 603-0836
                                                                                                                     Amount due for Loan 0000
                                                                                                       Due 10/ 1/ 2019                                          $ 455.61

                                                                                                       Total Payments Due *                                    $1,366.83
         MICHAEL F CRUM
                                                                                                           $18.50 late fee will be charged on or after 10/17 /2019
         3407 W REBA AVE
         BLOOMINGTON , IN 47403                                                                        Additional Principal            $

                                                                                                       Additional Escrow               $
                                                                                                       Total Amount Enclosed           $
                                                   ii
                                                                                                       * Does not include other fees, charges and balances .
                SN Servicing Corporation
                SCIG Series III Trust
                PO BOX 660820
                DALLAS, TX 75266 -0820
                                                                                                                                0000               SN/Crum5 0474
                                                                                                                                                  0000166283
